                                          Case 5:21-cv-09133-NC Document 14 Filed 12/06/21 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                               UNITED STATES DISTRICT COURT
                                   5                          NORTHERN DISTRICT OF CALIFORNIA
                                   6

                                   7    SALVADOR GUZMAN, et al.,                     Case No. 21-cv-09133-NC

                                   8
                                                     Plaintiffs,
                                                                                     REFERRAL FOR PURPOSE OF
                                   9
                                               v.                                    DETERMINING RELATIONSHIP
                                  10    WALMART INC., et al.,                        Re: Dkt. No. 12

                                  11
                                                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13         Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby
                                  14   REFERRED, to the Honorable Lucy H. Koh for consideration of whether the case is
                                  15   related to 5:17-cv-00062-LHK, Roderick Magadia v. Wal-Mart Associates, Inc. et al.
                                  16         IT IS SO ORDERED.
                                  17   Dated: December 6, 2021
                                  18                                              _____________________________________
                                                                                  NATHANAEL M. COUSINS
                                  19                                              United States Magistrate Judge
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
